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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA              )
                                      )       CRIMINAL ACTION NO.
       v.                             )           2:21cr49-MHT
                                      )
WILLIAM RICHARD CARTER,               )
JR.

                                   ORDER

      Based on the representations made by the parties

during the video conference held on January 26, 2022,

and    pursuant     to    Federal     Rule    of   Criminal     Procedure

24(b)(2), it is ORDERED as follows:

      (1)    Ten   peremptory       strikes    will    be   allotted       to

defendant William Richard Carter, Jr.

      (2) Six peremptory strikes will be allotted to the

government.

      (3)    Two    additional       peremptory       strikes    will      be

allotted to the government for selection of the four

alternate jurors.
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    (4)   Two    additional       peremptory      strikes     will      be

allotted to defendant Carter for the selection of the

four alternate jurors.

    DONE, this the 26th day of January, 2022.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
